Case 2:03-cV-O2217-.]P|\/|-de Document 322 Filed 05/03/05 Page 1 of 2 Page|D 293

 

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FoR THE wEsTERN DISTRICT 0F TENNESSEE OSHA?_B DHIZ_UB
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coMPANY, INc., ¢P ‘FTN,mEMmMé

Plaintiff,

v. No. 03-2217 Ml/V
SUNTRUST BANKS, INC., SUNTRUST
BANK, SUNTRUST BANK-ATLANTA,
SUNTRUST BANK-NASHVILLE, N.A.,
SUNTRUST EQUITABLE SECURITIES
CORPORATION, and

SUNTRUST CAPITAL MARKETS, INC.,r

vvvvvvvvvvvvvvv

Defendants.

 

ORDER GRANTING DEFENDANTS' MOTION TO CHANGE TRIAL DATE TO MAY 25,
2005

 

Before the Court is Defendants’ Motion to Change Trial Date
to May 25, 2005. GOOd cause having been Shown, the trial in this

case Shall begin On Wednesdav, Mav 25, 2005.
50 ORDERED this E£§ day of May, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

    
 

Th|s document entered on the docket sheet

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wrth Ru|e 58 and/or 79{&} FHCP on

   

UND11E STATES D1STR1C COURT - WESTERN1CSR1T oF TENNESSEE

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This notice confirms a copy of the document docketed as number 322 in
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Honorable J on McCalla
US DISTRICT COURT

